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                            BEFORE THE UNITED STATES
                   JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


 IN RE: CHANGE HEALTHCARE INC. DATA                      MDL NO. _______
 BREACH LITIGATION



                                  SCHEDULE OF ACTIONS

Case One Captions attached as Exhibit 1

      Plaintiffs          Court            Civil Action No.              Judge:

    Melissa Merry      M.D. Tenn.           3:24-cv-00239        Judge Eli J. Richardson



Case Two Captions attached as Exhibit 2

      Plaintiffs          Court            Civil Action No.              Judge:

    Robert Reese       M.D. Tenn.           3:24-cv-00240      Judge Waverly D. Crenshaw,
                                                                           Jr.



Case Three Captions attached as Exhibit 3

      Plaintiffs          Court            Civil Action No.              Judge:

   Nicolas Keriazis     D. Minn.            0:24-cv-00751        Judge Patrick J. Schiltz



Case Four Captions attached as Exhibit 4

      Plaintiffs          Court            Civil Action No.              Judge:

   Jennifer Stump      M.D. Tenn.           3:24-cv-00255      Judge Waverly D. Crenshaw,
                                                                           Jr.
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Case Five Captions attached as Exhibit 5

      Plaintiffs          Court            Civil Action No.            Judge:

   Robert Mackey         D. Minn.           0:24-cv-00771      Judge Donovan W. Frank



Case Six Captions attached as Exhibit 6

      Plaintiffs          Court            Civil Action No.            Judge:

     Jimmy Allen       M.D. Tenn.           3:24-cv-00263     Judge Waverly D. Crenshaw,
                                                                          Jr.
